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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 7

    THE ART INSTITUTE OF PHILADELPHIA                              Case No. 18-11535 (CTG)
    LLC, et al.,1
                                                                   Jointly Administered
                              Debtors.

    GEORGE L. MILLER, Chapter 7 Trustee,

                                     Plaintiff,
                                v.

    TODD S. NELSON, JOHN R. MCKERNAN,                              JURY TRIAL DEMANDED
    SAMUEL C. COWLEY, EDWARD WEST
    MARK A. MCEACHEN, FRANK JALUFKA,
    J. DEVITT KRAMER, MARK NOVAD,
    JOHN DANIELSON, AND MICK
    BEEKHUIZEN,                                                    Adversary Proceeding
                                                                   No. 20-50627 (CTG)
                                     Defendants.

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  The Debtors are the following entities (the last four digits of their respective taxpayer identification numbers follow
in parentheses): American Education Centers, Inc. (6160); Argosy Education Group, Inc. (5674); Argosy University
of California LLC (1273); Brown Mackie College - Tucson, Inc. (4601); Education Finance III LLC (2533); Education
Management LLC (6022); Education Management II LLC (2661); Education Management Corporation (9571);
Education Management Holdings II LLC (2529); Higher Education Services II LLC (3436); Miami International
University of Art & Design, Inc. (1065); South Education – Texas LLC (2573); South University of Florida, Inc.
(9226); South University of Michigan, LLC (6655); South University of North Carolina LLC (9113); South University
of Ohio LLC (9944); South University of Virginia, Inc. (9263); South University, LLC (7090); Stautzenberger College
Education Corporation (4675); TAIC-San Diego, Inc. (1894); TAIC-San Francisco, Inc. (9487); The Art Institutes
International Minnesota, Inc. (6999); The Art Institute of Atlanta, LLC (1597); The Art Institute of Austin, Inc. (3626);
The Art Institute of California-Hollywood, Inc. (3289); The Art Institute of California-Inland Empire, Inc. (6775);
The Art Institute of California - Los Angeles, Inc. (4215); The Art Institute of California-Orange County, Inc. (6608);
The Art Institute of California-Sacramento, Inc. (6212); The Art Institute of Charleston, Inc. (6048); The Art Institute
of Charlotte, LLC (4912); The Art Institute of Colorado, Inc. (3062); The Art Institute of Dallas, Inc. (9012); The Art
Institute of Fort Lauderdale, Inc. (0255); The Art Institute of Houston, Inc. (9015); The Art Institute of Indianapolis,
LLC (6913); The Art Institute of Las Vegas, Inc. (6362); The Art Institute of Michigan, Inc. (8614); The Art Institute
of Philadelphia LLC (7396); The Art Institute of Pittsburgh LLC (7441); The Art Institute of Portland, Inc. (2215);
The Art Institute of Raleigh-Durham, Inc. (8031); The Art Institute of St. Louis, Inc. (9555); The Art Institute of San
Antonio, Inc. (4394); The Art Institute of Seattle, Inc. (9614); The Art Institute of Tampa, Inc. (6822); The Art Institute
of Tennessee-Nashville, Inc. (5359); The Art Institute of Virginia Beach LLC (2784); The Art Institute of Washington,
Inc. (7043); The Art Institutes International II LLC (9270); The Illinois Institute of Art at Schaumburg, Inc. (3502);
The Illinois Institute of Art, Inc. (3500); The Institute of Post-Secondary Education, Inc. (0283); The New England
Institute of Art, LLC (7798); The University of Sarasota, Inc. (5558);Western State University of Southern California
(3875).
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                             SECOND AMENDED COMPLAINT

I.     INTRODUCTION

       1.      Plaintiff George L. Miller, the Chapter 7 Trustee (the “Trustee”) for the jointly

administered Chapter 7 bankruptcy estates of Debtors Education Management Corporation

(“EDMC”) and subsidiaries (collectively, the “Company” or the “EDMC Companies” or the

“Debtors”), by and through his counsel, brings this action to recover more than $200 million in

compensatory damages, along with punitive damages, arising out of, among other things,

Defendants’ prepetition breaches of fiduciary duty, fraud, civil conspiracy, corporate waste, unjust

enrichment and preferential and fraudulent transfers made by the Debtors to certain Defendants.

       2.      This adversary proceeding arises from the demise of the EDMC Companies, a

conglomerate of one of the largest for-profit providers of secondary education in the world, whose

exponential growth was fueled by private equity investors that implemented illegal recruiting and

compensation schemes to pump up growth and tap federal student loan funds.

       3.      In breach of their fiduciary duties to the Company, the Defendants caused the

EDMC Companies to operate in violation of the federal laws and regulations applicable to the

Debtors’ ownership and management of post-secondary for-profit learning institutions – i.e., Title

IV (“Title IV”) of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1070, et seq. (the

“HEA”) and in violation of applicable state laws and regulations. Defendants conspired among

themselves and the more than 100 EDMC operating subsidiaries to engage in this illegal behavior,

including those operating subsidiaries identified as Debtors herein, resulting in fines and penalties

exceeding $95 million, numerous consent decrees and the loss of more than $100 million of

outstanding tuition obligations by way of loan forgiveness, the combination of which crippled the

Debtors and ultimately resulted in their demise.

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       4.      Adding insult to injury, certain of the Defendants abused their positions of trust,

lined their pockets and looted the EDMC Companies of more than $20 million while the EDMC

Companies sold off parts of their business for pennies on the dollar and spiraled out of existence.

II.    JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1334, since the litigation arises under Title 11 (the Bankruptcy Code), or in or related to

cases under Title 11.

       6.      The Trustee demands a jury trial before an Article III judge in connection with all

claims asserted herein, and the Trustee does not consent to the entry of final judgment or

adjudication by a bankruptcy judge. As directed by the Court in its January 12, 2022 Opinion, the

Trustee hereby states that his breach of fiduciary duty claims are non-core and that the Trustee

does not consent to entry of final orders or judgment by the Court.

       7.      Venue is appropriate in this District pursuant to 28 U.S.C. § 1409(a).

III.   PARTIES

                                           The Plaintiff

       8.      Plaintiff George L. Miller is the duly appointed Chapter 7 Trustee of the Debtors.

       9.      On June 29, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under Chapter 7 of Title 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the District of Delaware – with the cases being jointly administered under the caption, In re

Art Institute of Philadelphia, LLC, et al., U.S.B.C. D. Del., Case No. 18-11535 (LSS) (collectively,

the “Bankruptcy Cases”).

       10.     The corporate structure of the EDMC Companies includes (a) ultimate parent

Education Management Corporation (“EDMC”), a Pennsylvania Corporation, (b) four



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intermediate holding companies (collectively, the “Delaware Holding Companies”), i.e.,

Education Management Holdings, LLC, Education Management LLC, Education Management

Holdings II, LLC, and Education Management II LLC, each of which is a Delaware limited

liability company for which EDMC served as the sole and managing member, and (c) numerous

for-profit learning institutions that were wholly-owned subsidiaries of the Delaware Holding

Companies. A chart of the Debtors’ corporate structure at times material hereto is attached to this

Complaint as Exhibit A.

       11.   At its peak in 2011, the Debtors had approximately 160,000 students, and operated

four different education systems (The Art Institutes, Argosy University, Brown Mackie Colleges

and South University) and an ABA accredited law school, Western State University College of

Law. Many of the individual institutions are Debtors in the Bankruptcy Cases, as identified herein.

                                        The Defendants

       12.     Defendant Todd S. Nelson (“Nelson”)2 is an individual residing at 3250 E. Tere St,

Phoenix, AZ 85044. Prior to joining the Debtors, Nelson was an executive with the University of

Phoenix, a for-profit education institution sanctioned for federal law violations during his tenure

substantially similar to those which plagued the Debtors and caused their demise.

       13.     Nelson served as (a) Chief Executive Officer and a member of the boards of EDMC

and each of the Delaware Holding Companies (collectively, the “EDMC Boards”) from February

2007 to July 2012, and (b) as the Chairman of the EDMC Boards from July 2012 to November

2013. At times material hereto, Nelson played an instrumental role in putting into place, approving



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       The Trustee acknowledges that all claims against Defendants Nelson, McKernan, and
Cowley were dismissed pursuant to the Court’s January 12, 2022 Opinion, and includes those
Defendants in this Second Amended Complaint solely for the purpose of preserving the
Trustee’s appellate rights. Defendants Nelson, McKernan, and Cowley need not plead to this
Amended Complaint.
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and directing the unlawful activities hereinafter described which caused damage to and the ultimate

destruction of the Debtors.

       14.     Defendant John R. McKernan, Jr. (“McKernan”) is an individual residing in

Falmouth, ME 04105.      McKernan was a member of the EDMC Boards from 1999 until April

2015, serving as Chairman from 2006 to 2012. Additionally, McKernan served as the Chief

Executive Officer of EDMC and the Delaware Holding Companies from 2003 to February 2007.

At times material hereto, McKernan played an instrumental role in putting into place, approving

and directing the unlawful activities hereinafter described which caused damage to and the ultimate

destruction of the Debtors.

       15.     Defendant Samuel C. Cowley (“Cowley”) is an individual residing at 2136 E.

Goldenrod St, Phoenix, AZ 85048. Cowley served on the EDMC Boards from 2009 to 2014 and

was a member of the Audit Committee. At times material hereto, Cowley played an instrumental

role in supervising, approving and directing the unlawful activities hereinafter described which

caused damage to and the ultimate destruction of the Debtors.

       16.     Defendant Edward West (“West”) is an individual residing at 246 Pink House Rd,

Sewickley Heights, PA 15143. West was EDMC’s and the Delaware Holding Companies’ CEO

and a member of the EDMC Boards from July 2012 to August 2015, and their Chief Financial

Officer from 2006-2012. At times material hereto, West played an instrumental role in putting

into place, approving and directing the unlawful activities hereinafter described which caused

damage to and the ultimate destruction of the Debtors.

       17.    Defendant Mark A. McEachen (“McEachen”) is an individual residing at 6

Marquette Way, Trabuco Canyon, CA 92679. McEachen was CEO of EDMC and the Delaware

Holding Companies from September 2015 until December 2017. McEachen also served as



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Chairman of the EDMC Boards from April 2015 through December 2017. At times material

hereto, McEachen continued the unlawful activities hereinafter described which caused damage to

and the ultimate destruction of the Debtors, and he failed in his fiduciary duties to cause EDMC

and the Delaware Holding Companies to investigate and assert claims against those Defendants

who were responsible to the Debtors for unlawful conduct (as hereinafter described) but had left

the Company prior to McEachen’s arrival.

       18.    Defendant Frank Jalufka (“Jalufka”) is an individual residing at 22112 Verbana

Parkway, Spicewood, TX 78669-6305. Jalufka was CEO of EDMC and President of each Debtor

from December 2017 until the Petition Date, and he signed each of the Petitions. Prior to

December 2017, Jalufka was Chief Financial Officer of EDMC and the Delaware Holding

Companies from January 2016 through December 2017. At times material hereto, Jalufka

continued the unlawful activities hereinafter described which caused damage to and the ultimate

destruction of the Debtors, and he failed in his fiduciary duties to cause EDMC and the Delaware

Holding Companies to investigate and assert claims against those Defendants who were

responsible to the Debtors for unlawful conduct (as hereinafter described) but had left the

Company prior to Jalufka’s arrival.

       19.    Defendant J. Devitt Kramer (“Kramer”) is an individual residing at 151 Laurel Oak

Drive, Sewickley, PA 15143. Kramer served in the following positions for EDMC and the

Delaware Holding Companies: (a) Vice President, Senior Counsel and Assistant Secretary from

May 2004 through June 2005; (b) Vice President Corporate Compliance from July 2005 through

June 2006; and (c) Senior Vice President, General Counsel and Secretary from July 2006 through

December 2017. At times material hereto, Kramer played an instrumental role in putting into

place, approving and directing the unlawful activities hereinafter described which caused damage



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to and the ultimate destruction of the Debtors, and he failed in his fiduciary duties to cause EDMC

and the Delaware Holding Companies to investigate and assert claims against those Defendants

who were responsible to the Debtors for unlawful conduct (as hereinafter described) but had left

the Company.

       20.     Defendant Mark Novad (“Novad”) is an individual residing at 208 White Oak

Drive, Slippery Rock, PA 16057. Novad served in the following positions for EDMC and the

Delaware Holding Companies: (a) Vice President of Human Resources from 2008 through

December 2011; (b) Senior Vice President of Human Resources from December 2011 through

August 2015; and (c) Office of the Chairman and Senior Vice President of Human Resources. At

times material hereto, Novad played an instrumental role in putting into place, approving and

directing the unlawful activities hereinafter described which caused damage to and the ultimate

destruction of the Debtors, and he failed in his fiduciary duties to cause EDMC and the Delaware

Holding Companies to investigate and assert claims against those Defendants who were

responsible to the Debtors for unlawful conduct (as hereinafter described) but had left the

Company.

       21.     Defendant John M. Danielson (“Danielson”) is an individual residing at 4033

Mansion Dr NW, Washington, DC 20007. Danielson was a member of the EDMC Boards from

April 2015 through June 2018. At times material hereto, Danielson played an instrumental role in

supervising, approving and continuing the unlawful activities hereinafter described which caused

damage to and the ultimate destruction of the Debtors, and he failed in his fiduciary duties to cause

EDMC and the Delaware Holding Companies to investigate and assert claims against those

Defendants who were responsible to the Debtors for unlawful conduct (as hereinafter described)

but had left the Company.



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       22.       Defendant Mick Beekhuizen (“Beekhuizen”) is an individual residing at 777

Avenue of the Americas, Apt. 25c, New York, NY 10001. Beekhuizen served as a member of the

EDMC Boards from October 2009 through April 2013 and as Executive Vice President and Chief

Financial Officer of EDMC and the Delaware Holding Companies from April 2013 through March

2016. At times material hereto, Beekhuizen played an instrumental role in supervising, approving

and directing the unlawful activities hereinafter described which caused damage to and the ultimate

destruction of the Debtors, and he failed in his fiduciary duties to cause EDMC and the Delaware

Holding Companies to investigate and assert claims against those Defendants who were

responsible to the Debtors for unlawful conduct (as hereinafter described) but had left the

Company.

IV.    FACTS

       A. EDMC is Founded in 1962 and Expands Over the Next Four Decades

       23.       EDMC was founded in 1962. It acquired the Art Institute of Pittsburgh in or around

1970 and launched additional schools in the Art Institutes system.

       24.       In November 1996, after expanding the Art Institutes chain and growing enrollment

into the thousands, EDMC and certain shareholders sold shares of EDMC’s common stock to the

public in an initial public offering raising $45 million.

       25.       In 2001, EDMC purchased rival for-profit education group Argosy Education

Group, Inc. (“Argosy”), for $78 million. At the time, EDMC operated 22 Art Institutes and two

other schools. Argosy operated seven educational institutions across the country with more than

5000 students.

       26.       In April 2003, EDMC acquired South University (“South”).

       27.       In June 2003, EDMC acquired American Education Centers (“AEC”) (and its 18

for-profit colleges) for $116 million. The AEC schools were later re-branded as Brown-Mackie
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College (“Brown-Mackie”). With this acquisition, enrollment at EDMC-owned schools topped

50,000.

       28.       In September 2003, Defendant McKernan became EDMC’s CEO.

       B. The 50/50 Rule is Repealed and the Private Equity Investors Take Over EDMC

       29.       In 2006, Congress deregulated online education by removing the “50 Percent Rule”

or “50/50 Rule.” The 50 Percent Rule had required institutions of higher education to enroll more

than half their students in campus-based programs (as opposed to online programs) to obtain full

access to federal funding of student loans.

       30.       The removal of the 50/50 Rule led to explosive growth at for-profit educational

institutions providing primarily online course offerings.

       31.       Wall Street investment bankers quickly seized upon the lucrative opportunity posed

by deregulation -- investing in for-profit educational institutions and implementing enrollment

strategies to achieve hypergrowth and capture student aid funds.

          32.    In 2006, EDMC was acquired in a $3.4 billion highly leveraged buyout (the “2006

LBO”) by a consortium of private equity investors, including Goldman Sachs Capital Partners,

Providence Equity Partners, and Leeds Equity Partners (collectively the “Private Equity

Investors”).

       33.       To service the substantial debt incurred in the 2006 LBO of approximately $2

billion and seek to drive out-sized returns from their investments, the Private Equity Investors

changed the culture of EDMC to pursue aggressive growth strategies that undermined academic

quality and opportunity and were driven by unlawful recruiting and enrollment practices.

       34.       A ten-fold increase in online student enrollment followed in the next five years

driven by EDMC’s oversized recruiter team. By 2010, the Company employed one recruiter for



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every 28 students, while each career counselor was responsible for 493 students and each student

services staffer was responsible for 133 students.

       C. The Private Equity Investors Recruit a For-Profit Education
          Veteran with a Checkered Past

       35.     Shortly after the Private Equity Investors took over EDMC, they moved quickly to

institute leadership that would focus on unrestrained growth in enrollment.

       36.     In January 2007, Defendant Nelson, who had recently run the for-profit University

of Phoenix (“Phoenix”), became EDMC’s CEO. Nelson’s departure from Phoenix followed a

settlement with the Department of Education in which a fine was paid for unlawful recruiting

practices.

       37.     According to the Huffington Post’s 2011 article titled “With Goldman’s Foray Into

Higher Education, A Predatory Pursuit of Students and Revenues,” by early 2007, “EDMC was

already a substantially changed company compared to its pre-buyout days.” Except for McKernan,

an entirely new board of directors was in place, including directors put in place by the Private

Equity Investors.

       38.     The new focus on online enrollment, with its easy access to plentiful federal student

loan funds, fueled explosive growth. An online student enrollment of 4,000 increased tenfold in

the following five years driven by aggressive recruiting of unqualified students.

       39.     When Nelson joined EDMC as its CEO in January 2007, EDMC had an enrollment

of 82,000 students. By 2011, enrollment had doubled to 160,000 students, making the Company

the second largest for-profit higher education company in the country.

       40.     During this period, annual revenue nearly tripled to $2.8 billion (nearly 90 percent

of which came from the federal student aid programs).




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       41.     Turning a blind eye to the then-record $9.8 million settlement with the Department

of Education during Nelson’s tenure at Phoenix as a result of unlawful enrollment tactics, the

Company hired at least ten former University of Phoenix officials in top management positions

following the 2006 LBO.

       42.     In a Program Review Report made public in 2004, the Department of Education

described the University of Phoenix as a predatory machine, with a sales force that was singularly

focused on maximizing enrollment.

       43.     Among the important findings in the University of Phoenix report were the

consistent accounts from both recruiters and enrollment managers about how employees received

raises. Central to the salary calculations was a performance chart known as “the matrix,” which

clearly laid out how many students were needed to attain certain salary brackets.

       44.     After resigning from his position at Phoenix, Nelson reemerged to take the reins at

EDMC, bringing to the EDMC Companies the same illegal playbook, the matrix and many of the

same players from Phoenix.

       45.     In addition to Nelson, other individuals who had left their employment with the

University of Phoenix following its settlement with the Department of Education and were

subsequently employed by EDMC in management-level positions included: EDMC’s Senior Vice

President and Chief Financial Officer, Robert A. Carroll; EDMC’s Senior Vice President John

Kline, the former Senior Vice President of Operations and Finance for the University of Phoenix

Online from August 2002 - February 2006 and its Chief Administration Officer from February

2006 - October 2007; EDMC’s Chief Accounting Officer, Craig Swenson, the former Provost and

Senior Vice President for Academic Affairs for University of Phoenix and Senior Regional Vice

President and Campus Director for University of Phoenix; Ken Boutelle EDMC’s former Vice



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President of Admissions for EDMC’s Online Higher Education Division and former Director of

Enrollment at the University of Phoenix; Anthony F. Digiovanni, EDMC’s Senior Vice President-

Marketing and Admissions; Sam Yaghoubi, David Preece, Phil Clark, Sean St. Clair, Jamie

Wellnitz and Mary Dyer-St. Clair.

       46.     To carry out their scheme for exponential growth and implement their conspiracy

with the EDMC operating entities, Nelson and his colleagues, with the approval of McKernan and

the remainder of the EDMC Boards, set their sights on the Company’s online-only offerings, which

had only about 4,000 students at the time of the 2006 LBO.

       47.     At the time of the 2006 LBO, EDMC had employed about 550 recruiters. Under

Nelson’s leadership, the number of Assistant Directors of Admissions (“ADAs”), the euphemism

attributed to the boiler room of recruiters, skyrocketed.

       48.     In 2010, with 158,300 students, EDMC had employed 5,669 recruiters, 321 career

service employees, and 1,187 student service employees. Accordingly, each career counselor was

responsible for 493 students and each student services staffer was responsible for 133 students, yet

the Company employed one recruiter for every 28 students.

       49.     The ADAs were encouraged and incentivized by EDMC management to

dramatically increase student enrollment in violation of the requirements of accrediting agencies,

as set forth, infra, by systemic abusive, deceptive, fraudulent and unlawful recruiting practices, for

which the ADAs were illegally rewarded with direct or indirect commission payments for each

student enrolled.

       50.     EDMC’s focus under Nelson and his management team was recruiting as many

students as possible, regardless of their merits or qualifications, as was evident from the training

materials used to train ADAs.



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          51.    For example, in the materials for the 2008 New Directors of Admissions (“DOAs”),

there was a presentation setting forth guidance for Directors of Admissions to use in interviews of

new ADAs. In a slide presentation entitled “Supporting Productivity: Reward & Consequence,”

DOAs were instructed to set expectations for ADAs in their initial interviews by telling them that

“This is sales . . .” In other words, being an ADA was, in reality, simply a sales role, and ADAs

were expected to know that up front.

          52.    In the same presentation, on a list entitled “So, what motivates your team?” the

possibilities listed were “telethons, games, application count down charts, legal forms of

rewards/prizes, praise, recognition, training, production, what else?” Nowhere was listed anything

about properly informing potential candidates about the school of their choice or admitting

students to schools which would best serve their educational and professional goals.

          53.    ADA new hire training materials instructed ADAs on their role in the “partnership

selling process.” This included “asking for the commitment,” handling objections and “confirming

the commitment.” This was followed by referral, enrollment, start and confirmation. Nowhere in

the process was any attempt to confirm that the student was prepared to receive an education at

the EDMC school, or that the student would be likely to be successful in her studies.

          54.    ADAs were instructed to, in calls with potential students, “Build em up,” then

“Break em Down! Find the Pain!,” then “Build em Up!” again, in the hopes of convincing potential

students that attending an EDMC school was the key to overcoming the problems in their lives

and achieving their life goals.

          55.    Moreover, EDMC, with the knowledge and acquiescence of its management and

Boards, falsely certified to the Department of Education the results of its compliance and financial

audits.



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       D. Federal and State Governments Investigate Misconduct at EDMC

       56.     On August 3, 2010, the United States Government Accountability Office (“GAO”)

released a report entitled “For-Profit Colleges: Undercover Testing Finds Colleges Encouraged

Fraud and Engaged in Questionable Marketing Practices” (the “GAO Report”).

       57.     On August 4, 2010, the United States Senate Committee on Health, Education,

Labor and Pensions (“HELP Committee”) held a hearing related to its investigation of for-profit

education providers. It was revealed at the hearing that EDMC systematically employed improper

practices related to student recruiting, enrollment, admissions, and financial aid.

       58.     On July 30, 2012, Senator Tom Harkin, Chairman of the HELP Committee,

unveiled a report on the findings of the Committee’s two year investigation of the for-profit higher

education industry entitled, For-Profit Higher Education: the Failure to Safeguard the Federal

Investment and Ensure Student Success (the “HELP Report”).

       59.     The HELP Report outlines widespread problems throughout the for-profit

educational sector, and pinpointed institutional problems at EDMC in its quest to capture federal

revenues and profit through enormous growth in enrollment.

       60.     As detailed in the GAO Report, HELP Committee hearing testimony and in the

2012 HELP Report, for-profit colleges, including EDMC, systematically used improper and

unlawful practices to consistently increase revenues through tuition and fees paid for by federal

student aid. The unlawful practices included: misleading prospective students about tuition costs,

academic program quality, accreditation, graduation rates, and post-graduation employment

prospects and expected salaries; aggressively targeting low-income and vulnerable populations;

using aggressive telephone marketing practices; engaging in improper practices in connection with

students’ and prospective students’ financial aid forms; and improperly compensating admissions

staff based on student enrollments.
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       E. The Qui Tam Actions and State Investigations

       61.     On May 3, 2011, a qui tam action captioned United States of America, and the

States of California, Florida, Illinois, Indiana, Massachusetts, Minnesota, Montana, New Jersey,

New Mexico, New York and Tennessee, and the District of Columbia, each ex rel., Lynntoya

Washington and Michael T. Mahoney v. Education Management Corporation, et. al. (the

“Government qui tam Action”), filed under the federal False Claims Act in April 2007 in the

United States District Court for the Western District of Pennsylvania, was unsealed as a result of

the Government’s intervention in the case. A copy of the unsealed Complaint in the Government

qui tam Action is attached hereto as Exhibit B and its allegations are incorporated herein.

       62.     Five of the states listed on the case caption and the District of Columbia joined the

case based on qui tam actions filed under their respective False Claims Acts.

       63.     The Government qui tam Action alleged that the Companies’ compensation plans

for admission representatives violated the HEA and U.S. Department of Education regulations

prohibiting an institution participating in Title IV programs from providing any commission, bonus

or other incentive payment based directly or indirectly on success in securing enrollments to any

person or entity engaged in any student recruitment or admissions activity during the period of

July 1, 2003 through June 30, 2011.

       64.     The complaint was initially filed by a former admissions representative at The Art

Institute of Pittsburgh Online Division and a former director of training at EDMC Online Higher

Education. The complaint in the Government qui tam Action alleged that the Company and/or

students attending the Company’s schools received over $11 billion in funds from participation in

Title IV programs and state financial aid programs during the period of alleged wrongdoing.

       65.     In March 2012, a qui tam action captioned United States of America, ex rel. Jason



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Sobek v. Education Management Corporation, et al. (the “Sobek qui tam Action” and collectively

with the Government qui tam Action, the “Qui tam Actions”), filed under the federal False Claims

Act in the Western District of Pennsylvania in January 2010, was also unsealed. A copy of the

unsealed Complaint in the Sobek qui tam Action is attached hereto as Exhibit C and its allegations

are incorporated herein.

       66.       In the Sobek qui tam Action, it was alleged that EDMC violated the U.S.

Department of Education’s regulation prohibiting institutions from making substantial

misrepresentations to prospective students, did not adequately track student academic progress and

violated the U.S Department of Education’s prohibition on the payment of incentive compensation

to admissions representatives. The complaint was filed by a former project associate director of

admissions at EDMC Online Higher Education who worked for South University.

       67.       State and local governments investigated EDMC as well. For example, in August

2011, EDMC received a subpoena from the Attorney General of the State of New York requesting

documents and detailed information relating to the Company’s compensation of admissions

representatives and recruiting activities. And in December 2011, the Company received a letter

from the City Attorney of the City of San Francisco, California requesting information related to

student recruitment and indebtedness, including recruiting practices and job placement reporting,

among other issues, by The Art Institute of San Francisco and the seven other Art Institutes located

in California.

       68.       Ultimately, 38 states and the District of Columbia formed a consortium (the

“Consumer Protection Consortium”) for purposes of conducting investigations into EDMC’s

potential violations of state consumer protection laws relating to the Company’s recruiting

activities, job placement efforts and other issues.



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       69.     The Qui tam Actions alleged that EDMC compensated ADAs, and their

supervisors, the Associate Directors of Admissions, based upon the number of new students who

enrolled in EDMC institutions, in violation of federal law.

       70.     Indeed, the actions alleged that the ADAs’ compensation and career advancement

within the Company was known as the Admission Performance Plan, explicitly stating that an

employee’s compensation level was to be determined by the number of new students an ADA

recruited.

       71.     In addition to compensation, EDMC provided commissions, bonuses, and other

incentive payments in the form of awards based solely on success in obtaining student enrollments.

       72.     The allegations in the Qui tam Actions were supported by documents demonstrating

the scheme. The Qui tam Actions and the investigations by the Consumer Protection Consortium

ultimately resulted in the Debtors reaching settlements with the federal and state government

entities pursuant to which the Debtors paid $95.5 million and forgave more than $100 million in

student loans owed to Debtors.

       73.     These settlements and the substantial monetary harm to the Debtors were the direct

result of the wrongdoing of Defendants, which put the Company and the Debtors at risk for

enormous liability for continuing violations of federal and state law.

       F. Eligibility for Programs under Title IV of the Higher Education Act of 1965

       74.     For-profit universities rely on federal funding in the form of financial aid for their

students.

       75.     Under Title IV of the HEA, Congress established various student loan and grant

programs, including but not limited to, the Federal Pell Grant Program (“Pell”), the Federal Family




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Education Loan Program (“FFELP”), and the Federal Direct Loan Program (“FDLP”) (collectively

“Title IV funding”) to financially assist eligible students in obtaining a post-secondary education.

       76.     Although the mechanism by which Title IV funding is disbursed to eligible students

under the Title IV programs varies, each Title IV program requires compliance with specific

conditions as a prerequisite to obtaining federal funds.

       77.      To become eligible to receive Title IV funding under programs such as Pell,

FFELP, or FDLP, or to have its students receive Title IV funding, a post-secondary educational

institution must first enter into a program participation agreement (“PPA”) with the Department of

Education. 20 U.S.C. § 1094(a); 34 C.F.R. §668.14.

       78.      Each PPA expressly conditions a school’s initial and continuing eligibility to

receive funds under Title IV programs on compliance with specific statutory requirements,

including 20 U.S.C. § 1094 and 34 C.F.R. § 668.14.

       79.     Section 487 (a)(20) of Title IV, 20 U.S.C. § 1094(a)(20) explicitly requires that

schools: “Will not provide any commission, bonus, or other incentive payment based directly or

indirectly on success in securing enrollments or financial aid to any persons or entities engaged in

any student recruiting or admission activities or in making decisions regarding the award of student

financial assistance ....” 20 U.S.C. § 1094(a)(20) (the “Incentive Compensation Ban”). Title IV of

the HEA expressly conditions the initial and continuing eligibility of schools to obtain Title IV

funding on the requirement that the schools comply with the Incentive Compensation Ban.

       80.     In 2002, the Incentive Compensation Regulations accompanying the Incentive

Compensation Ban were amended to clarify, among other things, that schools may pay “fixed

compensation, such as a fixed annual salary or a fixed hourly wage, as long as that compensation

is not adjusted up or down more than twice during any twelve month period, and any adjustment



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is not based solely on the number of students recruited, admitted, enrolled, or awarded financial

aid.” 34 C.P.R. § 668.14(b )(22)(ii)(A) (“Regulatory Safe Harbor”).

       81.     In addition, state authorization and accreditation by an accrediting commission

recognized by the Department of Education are also required for an institution to become and

remain eligible to participate in Title IV programs. As such, EDMC was also subject to extensive

state regulations and requirements of accrediting agencies, including the Accrediting Council for

Independent Colleges and Schools (“ACICS”), Accrediting Commission of Career Schools and

Colleges (“ACCSC”), Commission on Colleges of the Southern Association of Colleges and

Schools, Higher Learning Commission of the North Central Association, Middle States

Association of Colleges & Schools of the Commission on Higher Education, Northwest

Commission on Colleges and Universities, and the Commission on Colleges of the Western

Association of Schools and Colleges. The requirements of each of the accrediting agencies

included, among other requirements, that: “Advertising, recruiting, and admissions information

adequately and accurately represented the programs, requirements, and services available to

students. An institution may not delegate without supervision these [recruiting] activities to anyone

whose economic incentives are to recruit prospects through means that are unethical or subject to

public criticism or to admit ill-prepared applicants. [r]ecruiting shall be ethical and compatible

with the educational objectives of the institution ... The following minimums apply: (a) An

institution shall ensure that any person or entity engaged in admissions or recruitment activities on

its behalf is communicating current and accurate information regarding courses and accurate

information regarding courses and programs, services, tuition, terms, and operating policies.”

Schools are required “to describe themselves to prospective students fully and accurately and to

follow practices that permit prospective students to make informed and considered enrollment



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decisions without undue pressure. The school’s recruitment efforts must attract students who are

qualified and likely to complete and benefit from the training provided by the school and not

simply obtain enrollments ... Each school observes ethical practices and procedures in the

recruitment of its students. No misrepresentations should be made in student recruitment, including

... b. misrepresenting job placement and employment opportunities for graduates; c.

misrepresenting program costs; d. misrepresenting abilities required to complete intended

program.”

         82.    If the Department of Education or another regulatory agency had determined that

an institution improperly disbursed Title IV program funds or violated a provision of the HEA or

the implementing regulations, that institution could be required to repay such funds to the

Department of Education or the appropriate state agency or lender and could be assessed a

substantial fine. Violations of Title IV program requirements could also subject EDMC to other

civil and criminal penalties, including the limitation, suspension or termination of the participation

of affected institutions in Title IV programs, and, thus, threatening its receipt of federal student aid

funds.

         G. EDMC’s Participation in Title IV Programs

         83.    EDMC signed and submitted PPAs to the Department of Education on behalf of all

of EDMC’s educational institutions throughout the United States. In December 2006, EDMC’s

then Chairman and CEO, McKernan, signed all PPAs for EDMC institutions certifying that EDMC

was complying with the Incentive Compensation Ban.

         84.    After the original agreements expired, the President for each EDMC institution

signed that institution’s PPA agreement. This furthered the conspiracy among Defendants and

the individual institutions.



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       85.     In each PPA, the Company certified that “[i]t will comply with all statutory

provisions of or applicable to Title IV of the HEA, all applicable regulatory provisions prescribed

under that statutory authority, and all applicable special arrangements, agreements, and

limitations entered into under the authority of statutes applicable to Title IV of the HEA ....”

       86.     The Company further certified in each PPA that “[i]t will not provide, nor

contract with any entity that provides, any commission, bonus, or other incentive payment based

directly or indirectly on success in securing enrollments or financial aid to any persons or entities

engaged in any student recruiting or admission activities or in making decisions regarding the

awarding of student financial assistance ....”

       87.     In addition to the certifications made in the PPAs, the Company also made, or

caused to be made, additional certifications as part of its annual compliance audits and as part of

the student financial aid process.

       88.     For example, as a required part of its annual compliance audits, the Company

certified that it had complied with the requirements for eligibility to participate in Title IV

programs, including the Incentive Compensation Ban.

       89.     For-profit educational institutions, such as the EDMC Companies, must conduct

their compliance audits in accordance with the Department of Education Office of Inspector

General’s Audit Guide. The Department of Education uses the results of the compliance and

financial audits to determine whether schools are adhering to applicable requirements for Title IV

funding, including the Incentive Compensation Ban. As part of the annual audits, the Company

was required to certify, in the form of written “Required Management Assertions,” that, among

other things, it complied with the requirements for eligibility to participate in Title IV programs,

including the Incentive Compensation Ban. Specifically, the Company certified in its “Required



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Management Assertions” regarding “Institutional Eligibility and Participation” that it has “[n]ot

paid to any persons or entities any commission, bonus, or other incentive payment based directly

or indirectly on success in securing enrollments, financial aid to students, or student retention.”

       90.      In light of the ongoing illegal scheme perpetrated by Defendants, the statements

made in each EDMC school’s PPA and as part of the annual audit process were fraudulent

misrepresentations. This fraud was ongoing and continued until shortly before or to the Petition

Date, concealing the true nature of Defendants’ behavior while assuring Debtors, shareholders,

creditors, the government and students that the EDMC Companies were complying with federal

regulations.

       91.      The Qui tam Actions alleged that EDMC knowingly made false statements,

certifications, and claims regarding compliance with the Incentive Compensation Ban in order to

become and remain eligible to receive Title IV funding.           According to the government’s

allegations, EDMC’s statements were false when made, and caused the Department of Education

to pay various claims under Title IV programs.

       92.      From July 1, 2003 through June 30, 2011, EDMC received more than $11.1 billion

in Title IV funding for students enrolled in EDMC institutions. The Qui tam Actions focused on

the alleged violations in connection with EDMC’s receipt of these funds.

       93.      The Title IV Funding received by EDMC increased rapidly, from $656 million in

2003-2004 to $2.578 billion in 2010-2011.

       94.      EDMC continued to receive such funding throughout the time that the litigation

was pending in the Qui tam Actions, putting it at further risk of additional liability while the Qui

tam Actions ran their course.




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       H. The Qui Tam Allegations

                EDMC’s Alleged Violations of the Incentive Compensation Ban

       95.     The Government qui tam Action alleged that EDMC, under the direction of Nelson,

McKernan, West, Cowley, Kramer, Novad and other directors and officers, compensated ADAs,

including Lynntoya Washington, Relator in the qui tam action, and their supervisors, based upon

the number of new students who enrolled in EDMC institutions. Indeed, ADAs’ compensation

and advancement in the company were a result of EDMC leadership’s relentless and exclusive

focus on the number of new students an ADA was able to recruit. This directly violated the

Incentive Compensation Ban.

       96.      The Relators in the several qui tam Actions reported and alleged that EDMC

created a “boiler room” style sales culture and made recruiting and enrolling new students the sole

focus of its compensation system. Moreover, EDMC’s compensation system, and compensation

practices, under the supervision of Nelson and other Defendants, resulted in the payment of

“commission[s], bonus[es], or other incentive payment [s]” and thus violated the Incentive

Compensation Ban set forth in Title IV of the HEA. Through its compensation system and

compensation practices, the representations and certifications it made to the federal government in

its PPAs, in connection with annual compliance audits, and in other documents, EDMC knowingly

violated Title IV of the HEA’s Incentive Compensation Ban and Regulatory Safe Harbor, and its

accompanying and implementing regulations, all the while certifying that it was complying with

those regulations.

                     EDMC’s Compensation System for Admissions Personnel

       97.      The Qui tam Actions included extensive allegations regarding the manner in

which EDMC’s compensation of ADAs, under the supervision of Nelson and others, violated the

Incentive Compensation Ban, with citations to specific documents.
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       98.        Indeed, EDMC’s Admissions Department openly admitted that compensation

was tied to enrollment numbers. During Relator Lynntoya Washington’s initial interview for her

ADA position with EDMC employees Dave Bryant and Gregg Schneider, Mr. Bryant showed Ms.

Washington and approximately thirty (30) other candidates a PowerPoint presentation and

explained the matrix. When Ms. Washington then interviewed with EDMC Vice President of

Admissions Ken Boutelle in May of 2004, he told her that her compensation would depend on the

number of students she enrolled and promised that her compensation would increase within the

first six (6) months of employment if she met enrollment goals.

       99.      Under Defendants’ direction and control, from day one of their employment with

EDMC, ADAs were pressured to, and desired to, “go on the Matrix” in order to receive the

associated higher levels of compensation, which was directly tied to enrollment, in clear

contravention of the Incentive Compensation Ban.

       100.      Under the direction and control of Defendants Nelson, McKernan, West, Cowley,

Kramer and Novad, EDMC’s emphasis of, and reliance on, new student enrollment as the sole

basis upon which it determined an ADA’s compensation was demonstrated by the emphasis

EDMC placed on training its ADAs to “sell” enrollments. As the government alleged based on

the statements of the Relators and other EDMC personnel, under the direction and control of

Defendants Nelson, McKernan, West, Cowley, Kramer and Novad:

             a. In order to boost its student enrollment numbers, EDMC urged ADAs to enroll
                students before thoroughly reviewing their transcripts to determine their academic
                qualifications to attend the institution or online program. EDMC also regularly
                instructed ADAs to enroll applicants regardless of their qualifications, including
                applicants who were unable to write coherently, applicants who appeared to ADAs
                to be under the influence of drugs, and applicants for EDMC’s online program who
                did not even own computers. Although EDMC published academic requirements
                for incoming students, EDMC accepted any potential student who completed an
                application and submitted a 150-word essay. EDMC approved all student
                applications regardless of the applicant’s high school grade point average or the

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               quality of the applicant’s written essay, although some deficient students were
               required to take extra credits.

           b. EDMC instructed ADAs that, when making a recruitment pitch to a student, the
              ADA should inform the potential student that EDMC schools have very high career
              placement percentages and that the Career Services Office would contact the
              student six (6) weeks prior to graduation and set up interviews for the student with
              prospective employers. However, in reality, students themselves had to initiate the
              process to receive the benefits of the Career Services Office. In addition, students
              were only permitted to use the Career Services Office for a limited time after
              graduation, despite the fact that many ADAs told students that they will have
              lifetime access to the Career Services Office.

           c. EDMC instructed ADAs to secure enrollments by employing a recruitment tactic
              called “finding the pain.” “Finding the pain” meant locating a prospective student’s
              vulnerabilities and exploiting those vulnerabilities to persuade the student to enroll
              in an EDMC program, even after the student expressed a desire not to enroll.
              EDMC trained ADAs that examples of “the pain” include a hypothetical student’s
              desire to earn enough money to move her kids out of a dangerous neighborhood, or
              her desire to make her father proud.

       101.     Simply stated, under Defendants’ direction, the ADAs operated as a “boiler room”

selling potential students on the school, just as a team of salespeople for a corrupt investment

company would push bogus investments. Each “sale” meant guaranteed federal student loan

money for EDMC, regardless of whether the student had a likelihood of academic success or ability

to pay the loan back.

       102.     EDMC’s emphasis of, and reliance on, new student enrollment as the sole basis

upon which it determined an ADA’s compensation was also demonstrated by the way it tracked

ADAs’ success in evaluating their performance.

       103.     For example, as the government alleged in the Qui tam Actions:

           a. Quality factors were not discussed or included in documents EDMC used to track
              ADAs’ performance against their Student Start Plans. To the contrary, the Student
              Start Plan, Plan to Make Plan, and associated tracking documents focused entirely
              on the number of students the ADA enrolled and only measured quantitative
              factors.

           b. EDMC managers who supervised ADAs used Student Start Plan documents, and

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                other similar documents, as part of each ADA’s review every six months, and to
                provide regular informal feedback to ADAs. Typically, ADAs were told at the end
                of their reviews exactly how many student enrollments they needed to procure
                during the next six-month review period in order to be on track to reach their
                identified financial goals. ADAs were not given any similar prodding or
                incentivizing with respect to any “quality factors.” EDMC presented an ADA’s
                ability to reach her financial goals as solely a matter of procuring an identified
                number of student enrollments.

           c. In late July or early August of 2006, Relator Michael Mahoney interviewed with
              Vice President of Admissions for EDMC’s Online Higher Education division Ken
              Boutelle for the position of Director of Training of EDMC’s online division. Mr.
              Mahoney understood that EDMC’s goals were driven by its desire to increase
              student enrollments at all costs.

           d. As EDMC’s Director of Training for EDMC’s online division, Mr. Mahoney was
              charged with revamping EDMC’s sales training for ADAs. When Mr. Mahoney
              started working at EDMC in October of 2006, EDMC’s training materials for its
              ADAs did not mention Title IV or the HEA’s Incentive Compensation Ban. Mr.
              Mahoney was never instructed to provide training on the Incentive Compensation
              Ban. Consequently, none of the sales training materials Mr. Mahoney created
              referred to or acknowledged the prohibition regarding incentive-based
              compensation.

           e. While employed at EDMC, Mr. Mahoney never heard anyone focus on, or even
              discuss, the “quality factors” reflected on the matrix. To the contrary, EDMC’s
              focus on ADAs’ performance, and therefore their compensation, was limited solely
              to the number of new student enrollments the ADAs obtained.

       104.      The Qui tam Actions alleged that not only did EDMC, under the direction of

Defendants, positively reward ADAs based on high numbers of enrollments, it also took adverse actions

against those who did not achieve high recruitment numbers, regardless of other aspects of the ADA’s

performance.

       105.     As alleged in the Qui tam Actions, the conduct EDMC engaged in under the

direction of Defendants did not fall within the purview of, or satisfy, the Regulatory Safe Harbor.




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        I. Defendants Knew or Should Have Known That EDMC’s Compensation System
           Violated the Incentive Compensation Ban and Did Not Qualify for the Regulatory
           Safe Harbor

        106.    Defendants, and in particular Nelson, McKernan, West, Cowley, Beekhuizen,

Kramer and Novad, knew or should have known that the Company’s compensation system

violated the Incentive Compensation Ban and did not qualify for the Regulatory Safe Harbor.

        107.    Consequently, when the Company certified in its PPAs and other documents

regarding its compliance with the Incentive Compensation Ban and eligibility for Title IV funding,

those certifications were knowingly false. EDMC’s compensation system was inconsistent with

EDMC’s certifications of compliance in its PPAs, compliance audit Management Assertions, and

other documents, and it put the Company at risk for billions of dollars in liability.

        108.     At the time that the various EDMC Companies certified in their PPAs and yearly

audits that they did not make incentive payments to admissions personnel based on their success

in securing enrollments, Defendants Nelson, McKernan, West, Cowley, Beekhuizen, Kramer and

Novad knew that the Company was paying and planned to continue to pay admissions personnel

incentive payments based directly on their success in securing enrollments. This was a continuing

course of conduct in furtherance of the conspiracy among Defendants and the EDMC operating

entities.

        109.    Defendants’ misconduct led to settlements costing the Company nearly $200

million.

        110.    According to a former Vice President of Human Resources, the compensation

system for admissions staff was developed at the corporate level and approved by EDMC

Corporate. A former Vice President of Admissions reported that the compensation scheme was

developed by high level executives and was specifically reviewed and approved by Defendant



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Nelson. The EDMC Companies’ senior management, including Defendants Nelson, McKernan,

West, Cowley, Beekhuizen, Kramer and Novad, played a central role in setting overly aggressive

new student enrollment quotas.

       111.    The sheer number of abusive and deceptive recruiting and enrollment practices

detailed by many current and former employees, located in various geographic locations and

business units, easily demonstrated that these were not isolated instances, but rather were a

widespread pattern of behavior that was sanctioned by the Defendants.

       J. The Settlement of the Qui Tam Litigation Devastated the Debtors

       112.    Once the Qui tam Actions and related investigations were revealed, the Company’s

financial condition precipitously declined.

       113.    No later than June 30, 2014, EDMC was insolvent, as liabilities exceeded assets by

almost $300 million. The Company remained insolvent through the Petition Date.

       114.    On August 28, 2015, West resigned as CEO.

       115.    On September 1, 2015, Defendant McEachen was named CEO of EDMC and the

Delaware Holding Companies. He remained Chairman of the EDMC Boards.

       116.    McEachen would ultimately oversee the Company’s prepetition liquidation and he

looted the Company by taking almost $14 million for his effort.

       117.    In November 2015, Debtors reached a settlement with the U.S. Department of

Justice, 12 state attorneys general, the District of Columbia and Relators resolving all known cases

filed under federal and state False Claims Act (FCA) provisions. Concurrently, it settled the

investigations by the Consumer Protection Consortium (collectively, the “2015 Settlements”). A

copy of the Settlement Agreement effectuating the 2015 Settlements is attached as Exhibit D and

incorporated herein.



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       118.     In connection with the 2015 Settlements, EDMC paid $95.5 million, to be

distributed among the United States, the various states involved in the litigation, and the Relators.

       119.     The 2015 Settlements also resulted in Consent Judgments (the “Consent

Judgments”) entered in state courts for the states involved in the Consumer Protection Consortium

that required certain reforms to the Defendants operations, and, inter alia, required the EDMC

Companies to forgive $102.8 million in loans to certain students who attended the Company’s

institutions between January 1, 2006 and December 31, 2014. As an example of the Consent

Judgments, a copy of the Consent Judgment the EDMC Companies entered into with the State of

Florida is attached as Exhibit E and incorporated herein.

       120.     Prior to entering into the 2015 Settlements and the Consent Judgments, the

Company and the Defendants defended the Company’s conduct, disputed its liability, and

consistently maintained that its business operations complied with federal and state laws and

regulations.

       121.     It was not until the announcement of the 2015 Settlements in November 2015 that

the Defendants’ wrongdoing become apparent and that the injury to Debtors became knowable. A

copy of the November 16, 2015 press release from the United States Department of Justice

announcing the 2015 Settlements is attached as Exhibit F and incorporated herein.

       122.     In short, the 2015 Settlements and the revelation of the Company’s illegal practices

sent the company into a downward spiral from which it never recovered.

       123.     In January 2016, Debtors began a “teach-out” (i.e., they accepted no new students)

of lower-performing locations. These included 19 out of the 51 Art Institutes, 22 of the 26 Brown

Mackie Colleges and one Argosy College.




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        124.    The Company spent significant sums to “teach-out” these schools, with the final

school teach-outs completed in December 2017.

        125.    In June 2016, EDMC announced the closure of most of the Brown-Mackie

Colleges.

        126.    EDMC engaged an investment advisor to pursue the sale of the school locations

that were not being taught-out. Ultimately, EDMC consummated several transactions as it sold

off what remained.

        127.    In June 2016, EDMC II LLC sold The Connecting Link II, LLC to Triad Learning

Systems, LLC and Taylor Study Method, LLC for $1.7 million.

        128.    In January 2017, Debtors sold assets associated with the Brown Mackie College

campuses located in Bettendorf, Iowa, Hopkinsville, Kentucky, and North Canton, Ohio to Ross

Education, LLC (“Ross Education”). The Debtors’ business and assets were in such poor financial

shape at the time that Debtors actually had to pay Ross Education $2.1 million in connection with

the sale.

        129.    On January 18, 2017, EDMC and certain of its subsidiaries entered into an Asset

Purchase Agreement (the “DCF Purchase Agreement”) with Dream Center Foundation (“DCF”),

a not for profit entity, and certain of its newly formed subsidiaries (collectively with DCF, the

“DCF Buyers”) for the sale of substantially all of the Company’s remaining school locations,

specifically South University, Argosy University (including one campus being taught-out), and all

of the “core” Art Institutes school locations (other than The Art Institute of Vancouver) which

were not being taught-out. The DCF Purchase Agreement was amended and restated on February

24, 2017 and further amended on July 20, 2017 and October 13, 2017. Under the final terms of the

DCF Purchase Agreement: (a) There were two closing dates due to a delay in the receipt of



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regulatory approvals for institutions accredited by The Higher Learning Commission (four

locations) and Middle States Commission on Higher Education (two locations including the fully

online programs offered by The Art Institute of Pittsburgh), with the first closing occurring on

October 17, 2017 and the second closing occurring on January 19, 2018.

       130.    In January 2017, pursuant to a Transition Services Agreement executed in

connection with the DCF transaction, the DCF Buyers took possession and control of substantially

all of the Company’s and its affiliates’ books and records and agreed to provide certain

administrative services to the Company and its affiliates as they wound down business affairs.

       131.    Upon information and belief, Defendants’ unlawful behavior continued through the

sale of the Debtors’ businesses. The unlawful behavior was part of a course of conduct that

continued unabated through and beyond the time of the 2015 Settlements. A review of the Board

of Directors’ meeting minutes shows no concerted effort by Defendants to reform their behavior

or to comply with the Consent Judgments.

       132.    At all times material hereto, the Defendants failed to adopt, put in place and/or

monitor systems and procedures reasonably necessary to ensure the EDMC Companies’

compliance with the federal and state laws applicable to its on-line student programs which

accounted for approximately 90% of Company revenues, including Title IV, the Incentive

Compensation Ban and the Regulatory Safe Harbor.

           K. Red Flags Should Have Put Defendants on Notice of the Illegal Scheme

       133.    There were numerous so-called “red flags” that should have alerted the Defendants

as to the EDMC Companies’ illegal recruiting practices and other unlawful conduct, including:

           a. The Defendants knew or should have known that, by 2010, EDMC was employing
              a massive team of recruiters, 10 times as many as in 2006, and one for every 28
              students.



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b. The Defendants knew that Nelson had used the same playbook at University of
   Phoenix, and had violated the same federal laws there, and brought many former
   University of Phoenix executives with him to EDMC.

c. The Defendants knew or should have known that after Nelson joined as CEO,
   EDMC’s enrollment doubled and revenue tripled in just four years, and the number
   of students in online programs exploded. Enrollment results and projections were
   consistently discussed as “key metrics” at Board of Directors’ meetings. Given the
   federal legal restrictions on recruiting practices and, in particular, the use of federal
   student loan funds, Defendants had a duty to inquire as to whether and how such
   growth could have been achieved by legal means, which they disregarded.

d. Defendants knew or should have known about the President’s Club awards, which
   were promoted extensively to the ADAs, and awarded the ones who recruited the
   most students.

e. Defendants knew or should have known of the pervasive training materials existent
   throughout all EDMC brands and schools, which instructed ADAs to act as
   salespeople and “find the pain” in their attempts to coerce students to attend EDMC
   schools.

f. As early as 2010, Defendants were aware of the findings of the GAO Report and
   the HELP Committee regarding EDMC’s illegal practices.

g. By April 2011, the Government qui tam Action had been unsealed, and EDMC,
   though Defendants, continued to deny the allegations of the illegal scheme.

h. Beginning in 2011, state and local governments began to investigate EDMC and its
   illegal recruiting scheme.

i. In July 2012, the Senate HELP Committee published its report on its investigation
   of for-profit higher education. It contained specific examples of EDMC’s
   continued use of the illegal recruitment scheme, noting the prizes and compensation
   that were awarded to ADAs based on the number of students they recruited. It
   included a quote from an admissions employee stating “You’d probe to find a
   weakness, you basically take all that failure and all those bad decisions, and you
   spin it around and put it right back in their fact as guilt, to go to this sh*tty university
   and run up all of this debt.” EDMC continued to deny the allegations.

j. At an August 27, 2013 Board meeting, Defendants Nelson, McKernan, Cowley,
   West and Beekhuizen, among others, received an update on ongoing legal matters,
   as well as outstanding issues with accrediting agencies and state licensing boards.
   The Company’s Chief Compliance Officer presented them with a risk “heat map”
   setting forth the compliance risks to the company in these areas.




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           k. Throughout 2013-2015, Defendants were continually updated on the progress of
              the Government qui tam Action at Board of Directors’ meetings and were made
              aware of the allegations in the Complaint and the status of the litigation. Despite
              this, the Board minutes contain no references to discussions as to how to revise the
              recruiting practices at EDMC to comply with federal and state law.

           l. It was not until the November 2015 Consent Judgments in the state attorney general
              investigations that EDMC finally agreed to end “Abusive Recruitment Practices”
              as defined in those Judgments. In connection with those Judgments, EDMC agreed
              to forgive over $102 million in federal student loans it was owed as of September
              11, 2015.

           m. In June 2017, as EDMC prepared to sell off its remaining schools to the Dream
              Center Foundation (DCF), members of Congress again expressed concerns with the
              continuing pattern and practice of behavior at EDMC. On June 22, 2017, Senators
              Dick Durbin, Elizabeth Warren, Sherrod Brown and Kamala Harris, along with
              Congresswoman Rosa DeLauro of Connecticut, called for close scrutiny of
              EDMC’s proposed sale to DCF. These members of Congress sent letters to several
              university accrediting commissions which noted that earlier in 2017, “a staggering
              number of EDMC programs were revealed to be saddling their students with
              stunning levels of student debt and producing graduates at poverty-level wages.” It
              noted that “EDMC had the highest number of programs that failed the guidelines”
              of the federal gainful employment regulations. More than 70% of EDMC schools
              were failing or in the “warning” zone on these regulations. Thus, these members
              of Congress expressed “deep concern” that EDMC was still maintaining “a
              predatory operating and recruitment model” in violation of federal law.

           n. These members of Congress were also concerned that EDMC was still engaging in
              “a pattern of spending more on marketing and recruitment than on instruction, and
              a financial arrangement that allows institution leaders to personally profit from the
              institution’s operations.”

           o. EDMC continued to be the subject of state AG investigations even after the 2015
              consent judgments. In 2018, the Massachusetts attorney general filed a lawsuit
              against the New England Institute of Art, an EDMC school, alleging that EDMC
              misled prospective students about the programs offered in order to get them to
              enroll.

       134.    Defendants violated their fiduciary duties by consciously disregarding these red

flags and/or through their gross negligence in ignoring and failing to act upon them.




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       L.       While the Company Disintegrated, Certain Defendants
                Looted the Company on their Way Out the Door

       135.     While Debtors were on a death spiral from the damages flowing from the

settlements of the Qui tam Actions and related state investigations, certain Defendants lined their

pockets and looted the Company of millions of dollars (collectively, the “Excessive Payments to

Defendants”).

       136.     The Excessive Payments to Defendants were made by Debtor Education

Management II LLC in its capacity as the paying agent for all Debtors.

       137.     To the extent that any of the Excessive Payments were made on account of an

antecedent debt owed by a Debtor other than Education Management II, LLC, then Education

Management II, LLC made the payment on behalf of and as an agent of the Debtor which owed

the antecedent debt to which the payment relates.

       138.     Debtor Education Management II, LLC’s status as payment agent is detailed in its

Statement of Financial Affairs, Bankr. D. Del. No. 18-11494, ECF No. 9 at pp. 6 and 8, which

provides in pertinent part as follows:

                Intercompany Transactions. As with most corporate enterprises of
                significant size and complexity, Debtors operated a consolidated
                cash management system prior to the Petition Date, which resulted
                in intercompany accounts payable and accounts receivable.
                However, Debtors historically reported all financials on a
                consolidated basis. Intercompany payables and receivables were
                historically “trued up” at the end of each fiscal year to account for
                and allocate administrative and enterprise expenses to the proper
                party, but due to the consolidated reporting structure and the several
                hundred million in intercompany and intracompany transfers during
                any given year, that “true-up” could be materially misstated in any
                given year. Debtors have not done a “true up” since the fiscal year
                ending June 30, 2017 and do not have the resources to separate out
                intercompany obligations from the consolidated reporting structure
                at this time. As a result, Debtors’ schedules do not list intercompany
                payables and receivables. Regardless of the foregoing, Debtors do



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               not believe that any intercompany obligations have any realizable
               value.

                                              ***

               Prior to the Petition Date, Debtors maintained a centralized cash
               management system through which the Company and certain other
               “paymaster” entities made payments on behalf of subsidiaries.
               Consequently, all payments to creditors and insiders listed in
               response to Questions 3b and 3c on each of the SOFAs likely reflect
               transfers made by the Company or another paymaster entity for the
               benefit of a respective Debtor. Debtors have attempted to tie each
               transfer to the respective Debtor on whose account it was made but
               do not warrant or guarantee the accuracy of such listings.

       139.    Between January 15, 2016 and February 2, 2018, Debtors made bonus payments to

McEachen in the amount of $13,741,064.27 (the “McEachen Payments”) pursuant to an Executive

Employment Agreement dated September 10, 2015 between McEachen and Debtor Education

Management II, LLC, which provided for, inter alia, a three year term and the potential for bonus

payments. The McEachen Payments are itemized on Exhibit G attached hereto.

       140.    Between August 4, 2017 and October 20, 2017, Debtors made bonus payments to

Jalufka in the amount of $2,202,295.00 (the “Jalufka Payments”) pursuant to an Executive

Employment Agreement dated January 18, 2016 between Jalufka and Debtor Education

Management II, LLC, which provided for, inter alia, automatically renewing one year terms and

the potential for bonus payments. The Jalufka Payments are itemized on Exhibit H attached hereto.

       141.    Between January 15, 2016 and October 20, 2017, Debtors made bonus payments to

Kramer in the amount of $2,391,402.00 (the “Kramer Payments”). The Kramer Payments are

itemized on Exhibit I attached hereto.

       142.    Between August 4, 2017 and October 20, 2017, Debtors made bonus payments to

Novad in the amount of $1,443,662.00 (the “Novad Payments”). The Novad Payments are

itemized on Exhibit J attached hereto.

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        143.    On October 20, 2017, Debtors made a bonus payment to Danielson in the amount

of $965,000.00 (the “Danielson Payment”).

        144.    On March 18, 2016, Debtors made a severance payment to Beekhuizen in the

amount of $262,000.00 (the “Beekhuizen Payment”).

        145.    The Debtors were insolvent when the Excessive Payments to Defendants were

made. They failed to pay debts when due, were inadequately capitalized and had liabilities that

exceeded the fair value of their assets. On June 30, 2016, Debtors had $1,012,222,843 in total

assets and $1,292,738,942 in total liabilities, for an excess of liabilities over assets of

$280,388,243. On June 30, 2017, Debtors had $717,217,387 in total assets and $1,184,301,067

in total liabilities, for an excess of liabilities over assets of $467,083,680. And at the time of the

Petition Date, the Company had only $394,635 in assets (excluding net operating loss) and

liabilities of $628,885,442.

        146.    The Debtors failed to receive reasonably equivalent value in connection with the

McEachen Payments, the Jalufka Payments, the Kramer Payments, the Novad Payments, the

Danielson Payment and the Beekhuizen Payment, especially in light of said Defendants’

participation in the wrongdoing which caused the Debtors’ demise.

        147.    As a direct and proximate result of the wrongdoing of the Defendants, as aforesaid,

the Debtors have suffered damages in an amount which exceeds $220,000,000, and includes the

$95.5 million paid in the 2015 Settlements, $102.8 million of student loan debt forgiveness

mandated by the 2015 Settlements, the Excessive Payments to Defendants, and the destruction of

the Company.

        148.    The conduct of the Defendants as aforesaid was intentional, outrageous and

sufficiently egregious as to warrant the imposition of punitive damages.



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V.       THE CLAIMS

                      FIRST CLAIM – BREACH OF FIDUCIARY DUTIES
                                 (Against All Defendants)3

         149.     Paragraphs 1 through 148 above are incorporated herein by reference, as if restated

in their entirety.

         150.     As officers and/or directors, Defendants owed fiduciary duties of loyalty and care

to the Debtors.

         151.     The duty of loyalty obligates corporate fiduciaries to commit themselves to the

business of the corporation with the attitude of promoting the interests of the corporation and not

themselves.

         152.     The duty of loyalty is breached, inter alia: (1) when fiduciaries fail to act in the

face of a known duty to act, thereby demonstrating a conscious disregard for their responsibilities;

(2) when fiduciaries “abdicate” their responsibilities; and/or (3) when fiduciaries fail to act in good

faith.

         153.     Delaware law does not charter law breakers. It permits entities to make a profit,

but only when pursuing lawful business by lawful acts.

         154.     Fiduciaries of Delaware entities breach their duty of loyalty when they knowingly

cause the entity to seek profit by violating the law.




3
        The Trustee acknowledges that all claims against Defendants Nelson, McKernan, and
Cowley were dismissed pursuant to the Court’s January 12, 2022 Opinion, and includes those
Defendants in this Second Amended Complaint solely for the purpose of preserving the Trustee’s
appellate rights. The Court’s Opinion also dismissed breach of fiduciary duty claims against
Defendants West, Novad, and Beekhuizen in connection with EDMC, and the Trustee is
proceeding with his breach of fiduciary duty claim against those defendants only in connection
with their positions as officers or directors of the Delaware Holding Companies (with all appellate
rights preserved).
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          155.    Under Delaware law, it is a breach of the duty of loyalty to manage an entity in an

illegal fashion, even if the fiduciary believes that the illegal activity will result in profits for the

entity.

          156.    The duty of care is breached, inter alia, (1) when fiduciaries engage in an irrational

decision-making process and/or (2) when the conduct of fiduciaries rises to “gross negligence.”

          157.    To discharge their fiduciary duties, each Defendant was required, inter alia: (a) to

exercise reasonable control and supervision over the officers, employees, agents, business, and

operations of the EDMC Companies, (b) to be and remain informed as to how the EDMC

Companies were operating and, upon receiving notice or information of an imprudent,

questionable, or unsound decision, condition, or practice, make reasonable inquiry and, if

necessary, make all reasonable remedial efforts, as well as satisfying all the standards of conduct

set forth in applicable law, rules and regulations, including, but not limited to, those regulations

promulgated by the Department of Education, as well as those established by state agencies and

accrediting agencies, and (c) to ensure that the EDMC Companies were operating in a sound

manner and in compliance with federal and state laws and guidelines.

          158.    By operating the EDMC Companies in an illegal manner and exposing them to

substantial liabilities, the Defendants breached the duties of loyalty and care.

          159.    By implementing a business model and plan the purpose and effect of which was

to fuel growth by engaging in unlawful recruiting methods, the Defendants breached the duties of

loyalty and care.

          160.    By failing to put in place appropriate internal controls and a proper corporate

governance framework to detect and terminate unlawful recruiting and enrollment practices




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violative of the Incentive Compensation Ban and other governing federal and state laws and

regulations, the Defendants breached the duties of loyalty and care.

       161.    Defendants’ conduct, which resulted in the 2015 Settlements and the destruction of

the EDMC Companies, was not a good faith exercise of prudent business judgment because,

among other things, Defendants (a) acted in bad faith, (b) had knowledge of improprieties that they

encouraged rather than terminated, (c) engaged in violations of applicable laws and regulations

and (d) behaved in a manner that was reckless and egregious.

       162.    In other words, the Defendants acted in bad faith by knowingly and willfully

allowing violations of law that put the Debtors at risk of hundreds of millions of dollars of liability,

which ultimately resulted in the 2015 Settlements, the Consent Judgments and the destruction of

the Company.

       163.      Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen also

failed in their fiduciary duties to cause EDMC and the Delaware Holding Companies to investigate

and assert claims against those Defendants who were responsible to the Debtors for unlawful

conduct (as hereinafter described) but had left the Company.

       164.    Defendants breached the duties of loyalty and care by authorizing and accepting

the Excessive Payments to Defendants McEachen, Jalufka, Kramer, Novad, Danielson and

Beekhuizen.

       165.    As a result of Defendants’ breach of fiduciary duties, the Debtors suffered

substantial damages for which the Defendants are jointly and severally liable.




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                                  SECOND CLAIM – FRAUD4
                                    (Against All Defendants)

        166.    Paragraphs 1 through 165 above are incorporated herein by reference, as if restated

in their entirety.

        167.    By engaging in the wrongdoing alleged, the Defendants committed fraud and deceit

against the Debtors and their creditors.

        168.    The Defendants’ fraud and deceit included, directing or permitting the Company to

engage in illegal recruiting and enrollment practices, and making false and fraudulent

misrepresentations to federal and state government authorities, students and prospective students.

        169.    As a result of the fraud and deceit of the Defendants, the Debtors suffered

substantial damages for which the Defendants are jointly and severally liable.

                           THIRD CLAIM – CIVIL CONSPIRACY5
                                 (Against All Defendants)

        170.    Paragraphs 1 through 169 above are incorporated herein by reference, as if restated

in their entirety.

        171.    The Defendants conspired with each other, and with each operating entity of EDMC

– i.e, the individual schools – to perpetrate, facilitate, and perpetuate the breaches of fiduciary

duty, fraud, violations of federal law and other wrongs alleged herein.

        172.    The Defendants undertook substantial overt acts, as aforesaid, in furtherance of the

conspiracies alleged herein and are liable for the damages and harm to the Debtors.


4
       The Trustee acknowledges that his fraud claim was dismissed pursuant to the Court’s
January 12, 2022 Opinion, and includes that claim in this Second Amended Complaint solely for
the purpose of preserving his appellate rights. Defendants need not plead to this claim.
5
        The Trustee acknowledges that his civil conspiracy claim was partially dismissed
pursuant to the Court’s January 12, 2022 Opinion, and includes that claim in this Second
Amended Complaint only with respect to the surviving elements of the underlying breach of
fiduciary duty claim (with all appellate rights reserved). Defendants need not plead to this claim.
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        173.    As one or more Defendants left the Company before the Petition Date, each failed

to effectively withdraw from the conspiracy because, among other reasons, they failed to blow the

whistle and, to the contrary, remained silent as to the wrongdoing in which they and their co-

conspirators were engaging, which wrongdoing was merely continued by the remaining co-

conspirators.

        174.    As a result of the conspiracy among the Defendants, the Debtors suffered

substantial damages for which the Defendants are jointly and severally liable.

                      FOURTH CLAIM – CORPORATE WASTE6
    (Against Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen)

        175.    Paragraphs 1 through 174 above are incorporated herein by reference, as if restated

in their entirety.

        176.    The Excessive Payments to Defendants constituted corporate waste. They served

no rational business purpose and were commercially unreasonable.

        177.    As a result of the waste of the Debtors’ property, the responsible Defendants are

liable for their respective roles and the damages associated therewith.

                       FIFTH CLAIM – UNJUST ENRICHMENT7
    (Against Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen)

        178.    Paragraphs 1 through 176 above are incorporated herein by reference, as if restated

in their entirety.

        179.    The receiving Defendants received benefits without justification as a result of the



6
        The Trustee acknowledges that his corporate waste claim was dismissed pursuant to the
Court’s January 12, 2022 Opinion, and includes that claim in this Second Amended Complaint
solely for the purpose of preserving his appellate rights. Defendants need not plead to this claim.
7
        The Trustee acknowledges that his unjust enrichment claim was dismissed pursuant to the
Court’s January 12, 2022 Opinion, and includes that claim in this Second Amended Complaint
solely for the purpose of preserving his appellate rights. Defendants need not plead to this claim.
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Excessive Payments to Defendants.

        180.    The Defendants have unjustly retained the payments received by each to the

detriment of the Debtors and/or their creditors.

        181.    As a result of the Defendants’ unjust enrichment, the Excessive Payments to

Defendants received by each should be returned to the Trustee for the benefit of creditors.

                    SIXTH CLAIM – AVOIDANCE OF TRANSFERS8
                          Pursuant to 11 U.S.C. § 548(a)(1)(A)
    (Against Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen)

        182.    Paragraphs 1 through 181 above are incorporated herein by reference, as if restated

in their entirety.

        183.    The Excessive Payments to Defendants (consisting of the McEachen Payments, the

Jalufka Payments, the Kramer Payments, the Novad Payments, the Danielson Payment and the

Beekhuizen Payment) were “transfers” within the definition of 11 U.S.C. § 101(54)(D)(i) or (ii).

        184.    The Excessive Payments to Defendants were transfers of property, or of an interest

in property, of the Debtors to and/or for the benefit of certain Defendants.

        185.    The Debtors made the Excessive Payments to Defendants with the knowledge that

they would hinder creditors, and thus with the actual intent to hinder, delay and/or defraud the

Debtors’ creditors.

        186.    Accordingly, the Excessive Payments to Defendants constitute avoidable

fraudulent transfers pursuant to Section 548(a)(1)(A) of the Bankruptcy Code.




8
        The Trustee acknowledges that his actual fraud claim was dismissed pursuant to the
Court’s January 12, 2022 Opinion, and includes that claim in this Second Amended Complaint
solely for the purpose of preserving his appellate rights. Defendants need not plead to the
dismissed claim.
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                  SEVENTH CLAIM – AVOIDANCE OF TRANSFERS9
                          Pursuant to 11 U.S.C. § 548(a)(1)(B)
    (Against Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen)

        187.    Paragraphs 1 through 186 above are incorporated herein by reference, as if restated

in their entirety.

        188.    The Excessive Payments to Defendants were “transfers” within the definition of 11

U.S.C. § 101(54)(D)(i) or (ii).

        189.    At the time of the Excessive Payments to Defendants, Debtors were left with an

unreasonably small amount of capital with which to conduct their business, as evidenced by the

fact that the Debtors were already in the process of closing down and selling off all schools and

winding down operations.

        190.    The Excessive Payments to Defendants occurred while the Debtors were insolvent.

        191.    The Excessive Payments to Defendants were made to the benefit of insiders, under

an employment contract, and were not made in the ordinary course of business, as they consisted

largely of unwarranted bonus payments for engaging in unlawful activity.

        192.     In exchange for the Excessive Payments to Defendants, the Debtors received less

than a reasonably equivalent value, because they were merely excessive payments to directors

and/or officers of a dying company.

        193.         Accordingly, the Excessive Payments to Defendants constitute avoidable

fraudulent transfers pursuant to Section 548(a)(1)(B) of the Bankruptcy Code.




9
        The Trustee acknowledges that the claims to avoid the January 15, 2016 payments to
Defendants McEachen and Kramer and the March 18, 2016 payment to Defendant Beekhuizen
raised in Claims 7, 8, and 9 (but, for Claim 9, only to the extent that the claim was brought under
6 Del. C. § 1305(b)) were dismissed with prejudice pursuant to the Court’s August 24, 2022
Order. Defendants need not plead to the aspects of these claims which were dismisses with
prejudice.
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                  EIGHTH CLAIM – AVOIDANCE OF TRANSFERS
                            Pursuant to 11 U.S.C. § 547(b)
   (Against Defendants McEachen, Jalufka, Kramer, Novad, and Danielson)

        194.    Paragraphs 1 through 193 above are incorporated herein by reference, as if restated

in their entirety.

        195.    The Excessive Payments to Defendants were transfers of property, or of an interest

in property, of Debtors to and/or for the benefit of McEachen, Jalufka, Kramer, Novad, and

Danielson.

        196.    McEachen, Jalufka, Kramer, Novad, and Danielson were each insiders of Debtors.

        197.    Some of the Excessive Payments to Defendants were made within one year of the

Petition Date, as previously set forth.

        198.    The Excessive Payments to Defendants were made on account of antecedent debts

owed by the Debtors to the recipients of those payments before the transfers were made as set forth

in various employee contracts.

        199.     The Excessive Payments to Defendants were made while the Debtors were

insolvent.

        200.    The Excessive Payments to Defendants allowed McEachen, Jalufka, Kramer,

Novad, and Danielson to receive more than they would have received if the payments had not been

made and they received payment of those debts to the extent provided by filing a claim in this

Chapter 7 proceeding.

        201.    The Trustee and his professionals have conducted reasonable due diligence into

potential affirmative defenses and have concluded that those defenses are without merit given the

nature of and circumstances surrounding the Excessive Payments to Defendants, including, but

not limited to, the fact that they were running an essentially illegal business and made the



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Excessive Payments to themselves as the Debtors were struggling to operate and preparing for

bankruptcy.

        202.    Accordingly, the Excessive Payments to Defendants made within one year of the

Petition Date constitute avoidable preferential transfers pursuant to Section 547 of the Bankruptcy

Code.

                    NINTH CLAIM – AVOIDANCE OF TRANSFERS10
         Pursuant to 6 Del. C. §§ 1304(a)(1), 1304(a)(2), and 1305 and 11 U.S.C. § 544
     (Against Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen)

        203.    Paragraphs 1 through 202 above are incorporated herein by reference, as if restated

in their entirety.

        204.    As of the Petition Date, Debtors had numerous general unsecured creditors holding

allowable claims who, but for the Debtors’ bankruptcy filing, would have standing to bring claims

to avoid and recover the Excessive Payments to Defendants under 6 Del. Code § 1304(a)(1), 6

Del. Code § 1304(a)(2), and/or 6 Del. Code § 1305, as set forth on the Debtors’ Schedules (see,

e.g., EDMC Schedule attached as Exhibit K).

        205.    At all times material hereto, Debtors were insolvent.

        206.    Debtors made the Excessive Payments to Defendants with the knowledge that they

would hinder creditors, and thus with the actual intent to hinder, delay and/or defraud the Debtor’s

creditors.

        207.    Defendants took the Excessive Payments to Defendants knowing that the Debtors

were insolvent and heading into bankruptcy.

        208.    As Debtors were winding down their operations by closing and/or selling off


10
        The Trustee acknowledges that the actual fraud component of his ninth claim was
dismissed pursuant to the Court’s January 12, 2022 Opinion, and includes that component of his
claim in this Second Amended Complaint solely for the purpose of preserving his appellate
rights. Defendants need not plead to the dismissed claim.
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schools, it was entirely foreseeable and in fact inevitable when the Excessive Payments to

Defendants were made that the Defendants would receive a great deal of money leaving the

Debtors’ creditors high and dry as the Debtors went out of business.

        209.    The general unsecured creditors of Debtors were thus foreseeable creditors at the

time the Excessive Payments to Defendants were made.

        210.    Debtors did not receive reasonably equivalent value in exchange for the transfers

constituting the Excessive Payments to Defendants.

        211.    The transfers – made when Debtors were insolvent – constituted fraudulent

transfers for which the transferee Defendants are liable.

        212.    The Debtors were engaged in a business for which the remaining assets of the

Debtors were unreasonably small in relation to the business of the Debtors following the transfers,

as set forth above.

        213.     The Excessive Payments to Defendants thus constituted fraudulent transfers for

which the transferee Defendants are liable.

        214.    Accordingly, the Excessive Payments to Defendants constitute avoidable

fraudulent transfers pursuant to 6 Del. C. §§ 1304 and 1305, and Section 544 of the Bankruptcy

Code.

       TENTH CLAIM – RECOVERY OF TRANSFERS UNDER 11 U.S.C. § 550
   (Against Defendants McEachen, Jalufka, Kramer, Novad, Danielson and Beekhuizen)

        215.    Paragraphs 1 through 214 above are incorporated herein by reference, as if restated

in their entirety.

        216.    The Trustee is entitled to avoid the Excessive Payments to Defendants pursuant to

11 U.S.C. §§ 547, 548 and 544.

        217.    The Defendants were the initial transferees of the Excessive Payments to

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Defendants.

       218.    Accordingly, the Trustee is entitled to recover the transfers constituting the

Excessive Payments to Defendants, plus interest, pursuant to Section 550 of the Bankruptcy Code.

VI.    RELIEF REQUESTED

       WHEREFORE, Plaintiff, George L. Miller, Chapter 7 Trustee for the jointly administered

estates of the Debtors, demands judgment in his favor and against the Defendants, as follows:

       (a)     The entry of a judgment in favor of Plaintiff and against the Defendants, jointly and

severally, for compensatory damages in an amount in excess of $200,000,000 (which includes

$95.5 million paid in the 2015 Settlements, $102.8 million of student loan debt forgiveness,

Excessive Payments to Defendants, and damages for the destruction of the Company);

       (b)     The entry of judgment for avoidance and recovery of the Excessive Payments to

Defendants, entering judgment against each Defendant receiving such payments in the amount of

the respective payment, plus interest;

       (c)     The entry of judgment in favor of the Trustee and against the Defendants, jointly

and severally, for punitive damages;

       (d)     Reasonable attorneys’ fees and costs; and,

       (e)     Such additional relief as this Court deems just.

VII.   JURY DEMAND

       The Trustee demands a jury trial before an Article III Judge in connection with all claims

asserted herein.




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Dated: September 22, 2022      Respectfully submitted,



                               /s/ Bradford J. Sandler
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